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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

JORDAN A. THOMAS,

                    Plaintiff,

               v.                                    Docket No. 1:21-CV-108

SECURITIES AND EXCHANGE
COMMISSION; GARY GENSLER, in his
official capacity as Chair of the U.S.
Securities and Exchange Commission.

                    Defendants.

                          JOINT MOTION TO STAY

      Plaintiff Jordan A. Thomas and Defendants the Securities and Exchange

Commission and Gary Gensler, in his official capacity as Chair of the

Commission, jointly move the Court to stay this case pending new developments

that may substantially narrow or eliminate the issues raised in the Complaint. On

August 2, 2021, Chair Gensler directed Commission staff to prepare for the

Commission’s consideration later this year potential revisions to the whistleblower

rule amendments challenged by Plaintiff in this litigation. The parties have

conferred and, in light of the Chair’s statement and a related statement by the

Commission, agree it is in the interest of efficiency for the Court to stay these

proceedings.



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1.     On September 23, 2020, by a vote of 3-2, the Commission adopted

amendments to, among other rules, Commission Rule 21F-3(b)(3), 17 C.F.R.

§ 240.21F-3(b)(3), promulgated under the Securities Exchange Act of 1934

(“Exchange Act”), and Rule 21F-6 ,17 C.F.R. § 240.21F-6, also promulgated under

the Exchange Act, the two rules at issue in this matter. See Commission Adopting

Release for Whistleblower Program Rules, 85 Fed. Reg. 70,898 (Nov. 5, 2020). 1

The rules became effective December 7, 2020. Id.

2.     On January 13, 2021, Thomas filed this action to challenge the September

2020 amendments to Rules 21F-3(b)(3) and 21F-6, advancing various substantive

and procedural challenges to the amended rules.

3.     On March 17, 2021, Defendants filed an unopposed motion to extend the

time to file an answer or otherwise respond to the Complaint to May 21, 2021.

The Court granted that motion on March 19, 2021.

4.     Chair Gensler was confirmed by the Senate on April 14, 2021.

5.     On May 19, 2021, the parties filed a joint proposed briefing schedule. In the

proposed briefing schedule, the parties agreed that the case could be resolved by

cross-motions for summary judgment. The parties proposed that (i) Plaintiff’s



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  For additional background about the SEC’s whistleblower award program and the two amended
rules that are the subject of this lawsuit, see U.S. Securities and Exchange Commission,
Statement Regarding Agency Procedures Related to Amended Whistleblower Rules (Aug. 5,
2021), available at https://www.sec.gov/rules/policy/2021/34-92565.pdf, at 2-4 (setting forth
relevant background information).
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opening brief in support of his motion for summary judgment would be filed no

later than August 10, 2021; (ii) Defendants’ responding brief in opposition to

Plaintiff’s motion for summary judgment and in support of Defendants’ cross-

motion for summary judgment would be filed no later than September 24, 2021;

and (iii) Plaintiff’s reply brief in support of their motion for summary judgment

and in opposition to Defendants’ cross-motion for summary judgment would be

filed no later October 22, 2021.

6.    Neither party has filed any brief on their cross-motions for summary

judgment, nor has the Court scheduled oral argument on the cross-motions.

7.    On August 2, 2021, Chair Gensler issued a statement in connection with the

SEC’s whistleblower program. In it he explained:

             Various members of the whistleblower community, as
             well as Commissioners Lee and Crenshaw, have
             expressed concern that two of these amendments could
             discourage whistleblowers from coming forward. One of
             these amendments would preclude the Commission in
             some instances from making an award in related
             enforcement actions brought by other law-enforcement
             and regulatory authorities if a second, alternative
             whistleblower award program might also apply to the
             action [Rule 21F-3(b)]. The second amendment could be
             used by a future Commission to lower an award because
             of the size of the award in absolute terms [Rule 21F-6].

U.S. Securities and Exchange Commission Chair Gary Gensler, Statement in

Connection with the SEC’s Whistleblower Program (Aug. 2, 2021), available at



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https://www.sec.gov/news/public-statement/gensler-sec-whistleblower-program-

2021-08-02.

8.    Chair Gensler directed the Commission staff to prepare for the

Commission’s consideration later this year potential revisions to these two rules

that would address the concerns that these recent amendments discourage

whistleblowers from coming forward. Id. The staff was directed to consider, in

particular, “whether our rules should be revised to permit the Commission to make

awards for related actions that might otherwise be covered by an alternative

whistleblower program that is not comparable to the SEC’s own program, and to

clarify that the Commission will not lower an award based on its dollar amount.”

Id.

9.    On August 5, 2021, the Commission issued a Statement Regarding Agency

Procedures Related to Amended Whistleblower Rules, available at

https://www.sec.gov/rules/policy/2021/34-92565.pdf. In this Statement, the

Commission explained that, in September 2020, it “adopted various amendments

to the Whistleblower Program rules, including two amendments that whistleblower

advocates and others have asserted are unfair to whistleblowers and may risk

reducing the willingness of individuals to blow the whistle. These amendments

were made to: (1) Exchange Act Rule 21F-3, which addresses the criteria for

making an award based on a whistleblower’s contributions to the successful

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resolution of a related action; and (2) Exchange Act Rule 21F-6, which establishes

the criteria that the Commission may consider when determining the appropriate

award amount.” Id.

10.   The Commission’s Statement explained that, in light of Chair Gensler’s

August 2, 2021 statement and “[w]hile the staff is preparing and the Commission is

considering potential additional rulemaking, [certain procedural or exemptive

requests of the Commission—including that matters be held in abeyance until

rulemaking is complete—]are available to whistleblowers with claims pending

during the Interim Policy-Review Period so that they are not disadvantaged under

the components of Rule 21F-3(b)(3) and Rule 21F-6 that may be revised.” Id.

11.   Further regulatory action on the items Chair Gensler has directed staff to

consider revisiting could substantially narrow or moot some or all of Plaintiff’s

claims. Moreover, staying this case will conserve judicial resources and the

resources of the parties.

12.   In light of the Chair’s and the Commission’s statements and in the interest of

economy of time and effort for the Court and for litigants, it is appropriate to stay

this action to allow for the resolution of the Commission's rulemaking.

13.   The parties therefore jointly move the Court to stay this action until the

earlier of February 5, 2022, or the promulgation of final rule amendments

addressing Rule 21F-3(b)(3) and Rule 21F-6. If this motion is granted, the parties

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will promptly report to the Court about the status of the rulemaking at the earlier of

February 5, 2022 or the issuance of final rule amendments.


Dated:       August 6, 2021

Respectfully submitted,

/s/ J. Michael Connolly                       /s/ Thomas J. Karr
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                         CERTIFICATE OF SERVICE

      I hereby certify that on August 6, 2021, I electronically filed the foregoing

document with the Clerk of Court for the United States District Court for the

District of Columbia using the CM/ECF system, thereby effecting service on

counsel for plaintiff Jordan A. Thomas.

                                       /s/ Thomas J. Karr
                                       THOMAS J. KARR
                                       Assistant General Counsel
                                       Office of the General Counsel
                                       Securities and Exchange Commission

Dated: August 6, 2021
